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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: May 05, 2020

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                     Re: Case No. 20-5179, Patrick Reeners v. Rickey Troup, et al
                         Originating Case No. : 3:15-cv-00625

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                  Sincerely yours,

                                                  s/Connie A. Weiskittel
                                                  Mediation Administrator

cc: Mr. Kirk L. Davies

Enclosure

No mandate to issue



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                                         Case No. 20-5179

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



PATRICK JAYSON REENERS

              Plaintiff - Appellee

v.

RICKEY TROUP; LAMAR BALLARD; JAMIE HELSON; BRADLEY JONES

              Defendants - Appellants

and

DONALD BANDY; CITY OF GALLATIN, TN

              Defendants



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: May 05, 2020
                                                  ___________________________________




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